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                IN THE UNITED STATES COURT OF APPEALS
                          FOR THE TENTH CIRCUIT
                   _____________________________________

 SUSAN PARISI,                           |
                                         |
        Plaintiff-Appellee,              |
                                         |          Case No. 23-6218
        v.                               |          Case No. 24-6043
                                         |
 GREENSKY, LLC (incorrectly              |    (D.C. No. 5:23-CV-00115-R)
 identified as BMO Harris Bank, NA       |
 d/b/a Greensky, LLC),                   |          (W.D. Okla.)
                                         |
        Defendant-Appellant,             |
                                         |
        and                              |
                                         |
 OKLAHOMA WINDOWS AND                    |
 DOORS, LLC d/b/a Renewal by             |
 Andersen of Oklahoma,                   |
                                         |
        Defendant-Appellant.             |
                   _______________________________________
  DEFENDANTS-APPELLANTS’ MOTION TO ENLARGE THE WORD LIMIT
                 FOR THEIR PRINCIPAL BRIEF




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       Defendants-appellants GreenSky, LLC (incorrectly identified as BMO Harris

 Bank, NA (d/b/a Greensky, LLC) and Oklahoma Windows and Doors, LLC d/b/a

 Renewal by Andersen of Oklahoma (collectively, “Appellants”) respectfully move

 to expand the word limit for their principal brief to 18,000 words. This motion is

 timely as Appellants’ principal brief is currently due on June 7, 2024. On its own

 motion, the Court consolidated these two appeals, which arise from the same district

 court case. The appeal, however, involves two separate orders, each of which denied

 a motion to compel arbitration under a separate and distinct arbitration agreement –

 one agreement involving Appellee Parisi and GreenSky, the other involving

 Appellee Parisi and Oklahoma Windows & Doors. The district court ruled on the

 Appellants’ separately filed motions to compel arbitration in two different orders

 issued ten weeks apart. Appellants respectfully request an additional 5,000 words

 (for a total of 18,000 words) for their principal brief so that they may appropriately

 discuss the distinct factual and legal issues specific to each Appellant. Appellants

 will not object to a similar extension, should one be requested, for Appellee.

 Appellants’ counsel certify that they have made reasonable efforts to confer with

 Appellee’s counsel, and represent that Appellee’s counsel has indicated that

 Appellee does not oppose the relief sought in this motion.



 DATED:       May 24, 2024.

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                                  Counsel for Defendant-Appellant Oklahoma
                                  Windows and Doors, LLC d/b/a Renewal by
                                  Andersen of Oklahoma

                           CERTIFICATE OF SERVICE

       I hereby certify that on this day, a copy of the foregoing was filed

 electronically and served by mail on anyone unable to accept electronic filing.

 Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

 electronic filing system or by mail to anyone unable to accept electronic filing.

 Parties may access this filing through the Court’s system.

       This 24th day of May, 2024.

                                         By: s/ Barry Goheen

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                          CERTIFICATE OF COMPLIANCE

       I certify that: (1) this motion complies with the type-volume limitation set

 forth in Fed. R. App. P. 27(d)(2)(A) because it contains 214 words, excluding the

 parts exempted by Fed. R. App. P. 32(f); (2) this brief complies with the typeface

 and type-style requirements of Fed. R. App. P. 27(d)(1)(E), Fed. R. App. P.

 32(a)(5), and Fed. R. App. P. 32(a)(6) because it has been prepared in a

 proportionally spaced typeface using Microsoft Word 2016 in 14-point font; (3)

 any required privacy redactions have been made per 10th Cir. R. 25.5; and (4) the

 digital submission has been scanned for viruses and is free of viruses.



                            By: s/ Barry Goheen




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